   Case 1:21-cv-06889-PGG-OTW                Document 64   Filed 12/13/24     Page 1 of 13




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CALWAYNE OGLETON,

                                Plaintiff,                     ORDER

                       -v-                            21 Civ. 6889 (PGG) (OTW)
 THE CITY OF NEW YORK and NYC
 DEPARTMENT OF BUILDINGS,

                             Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

              In this action, Plaintiff Calwayne Ogleton – a former supervisor at the New York

City Department of Buildings (the “Buildings Department”) – moves for leave to file an

amended complaint asserting a claim against Defendants City of New York (the “City”) and the

Buildings Department under the Fair Labor Standards Act (the “FLSA”) for unpaid overtime

wages. (Dkt. No. 60)

              The Complaint was filed on August 16, 2021, and asserts claims on behalf of

Ogleton, Richard Whint – a supervising inspector at the Buildings Department – and putative

class members against the City, the Buildings Department, and Buildings Department

Commissioner Melanie E. La Rocca for violations of the FLSA, the New York Labor Law

(“NYLL”), the New York State Human Rights Law (the “NYSHRL”), and the New York City

Human Rights Law (the “NYCHRL”). (Cmplt. (Dkt. No. 1) ¶¶ 38, 52, 63, 67, 72, 78, 84, 90)

              On January 20, 2022, Defendants moved to dismiss pursuant to Federal Rule of

Civil Procedure 12(b)(6). (Dkt. No. 40) On March 1, 2022, this Court referred Defendants’

motion to Magistrate Judge Ona T. Wang for a Report and Recommendation (“R&R”). (Dkt.

No. 45)
    Case 1:21-cv-06889-PGG-OTW              Document 64         Filed 12/13/24      Page 2 of 13




               On January 26, 2023, Judge Wang issued an order to show cause directing Whint

to demonstrate why his claims should not be dismissed for lack of subject matter jurisdiction.

(Show Cause Order (Dkt. No. 53)) In a February 10, 2023 letter, Plaintiffs informed Judge

Wang that they did “not oppose a dismissal of [Whint’s] claims by the District Court on the basis

of [lack of] subject matter jurisdiction . . . . [and] therefore accede[d] to a dismissal [of Whint’s

claims] under [Federal Rule of Civil Procedure] 41(a)(1)(2).” (Feb. 10, 2023 Pltf. Ltr. (Dkt. No.

54) Accordingly, in a February 17, 2023 R&R, Judge Wang “recommend[ed] that Plaintiff

Whint be dismissed from the action.” (Dkt. No. 55 at 1-2) 1 That same day – in a second R&R –

Judge Wang recommended that Plaintiff Ogleton’s claims be dismissed pursuant to Fed. R. Civ.

P. 12(b)(6). (Dkt. No. 56)

               In a March 31, 2023 order, this Court adopted Judge Wang’s recommendations

that Whint’s claims be dismissed pursuant to Fed. R. Civ. P. 41(a)(2), and that Ogleton’s claims

be dismissed pursuant to Fed. R. Civ. P. 12(b)(6). (Dkt. No. 59) This Court granted Plaintiff

Ogleton leave to move to amend “claims under the FLSA only,” and directed him to file a

proposed Amended Complaint with any such motion. (Id. at 18)

               On April 14, 2023, Ogleton moved for leave to file an amended complaint. (Dkt.

No. 60) The proposed Amended Complaint asserts an FLSA claim against the City and the

Buildings Department (“Defendants”). (Prop. Am. Cmplt. (Dkt. No. 60-1) ¶¶ 1, 6-7)

Defendants filed their opposition to Ogleton’s motion to amend on April 25, 2023. (Dkt. No. 61)

               On August 3, 2023, this Court referred the motion to amend to Judge Wang for an

R&R. (Dkt. No. 62) On January 26, 2024, Judge Wang issued an R&R recommending that



1
  The page numbers of documents referenced in this Order correspond to the page numbers
designated by this District’s Electronic Case Files (“ECF”) system.



                                                  2
     Case 1:21-cv-06889-PGG-OTW             Document 64        Filed 12/13/24     Page 3 of 13




Ogleton be granted leave to file an amended complaint raising an FLSA claim against the City,

but not the Buildings Department. (Dkt. No. 63) Neither side has objected to the R&R.

                 For the reasons set forth below, the R&R will be adopted in part. Plaintiff will be

granted leave to file an amended complaint raising an FLSA claim against the City for unpaid

overtime wages, but only with respect to claims arising on or after August 16, 2019.

                                         BACKGROUND

I.      THE PROPOSED AMENDED COMPLAINT

                 According to the proposed Amended Complaint, the City and the Buildings

Department hired Plaintiff Ogleton in September 2015 to work as an inspector. In February

2019, he was promoted to supervisor. (Prop. Am. Cmplt. (Dkt. No. 60-1) ¶¶ 10-11)

                 Ogleton goes on to allege that Defendants, through a “policy of timeshaving,” did

not pay him and other supervisors for all hours they worked and/or did not pay them the required

time-and-a-half rate for hours worked in excess of 40 hours per week:

        Throughout his employment as a Supervisor, Defendants paid Plaintiff
        OGLETON $35.41 per hour. Plaintiff and other Supervisors would clock in and
        work, then clock out after finishing their work each day. However, due to a
        policy of timeshaving, Defendants would not pay Plaintiff OGLETON and other
        Supervisors for all of the hours that they worked, resulting in an average of one
        (1) unpaid hour per day, or five (5) unpaid overtime hours per week.

        Every week, from in or about February 2019 until in or about December 2020,
        Plaintiff OGLETON worked forty-five (45) hours per week, yet was paid for only
        forty (40) hours per week, due to the Defendants’ policy of timeshaving. Plaintiff
        OGLETON was not paid for five (5) hours of overtime work per week, every
        week, during this period.

        Defendants knowingly and willfully operated their business with a policy of not
        paying the FLSA overtime rate to Plaintiff OGLETON for all hours worked in
        excess of forty (40) hours per week by forcing them to misreport their hours.

(Id. ¶¶ 12-14)




                                                  3
     Case 1:21-cv-06889-PGG-OTW              Document 64        Filed 12/13/24       Page 4 of 13




                “In or about December[] 2020, Plaintiff OGLETON announced to his supervisors

that he no longer intended to cooperate with Defendants’ timeshaving policy.” (Id. ¶ 15)

                                            DISCUSSION

I.      LEGAL STANDARDS

        A.      Review of a Magistrate Judge’s Report and Recommendation

                A district court reviewing a magistrate judge’s report and recommendation “may

accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate judge.” 28 U.S.C. § 636(b)(1)(C). “‘The district judge evaluating a magistrate

judge’s recommendation may adopt those portions of the recommendation, without further

review, where no specific objection is made, as long as they are not clearly erroneous.’”

Gilmore v. Comm’r of Soc. Sec., No. 09 Civ. 6241 (RMB) (FM), 2011 WL 611826, at *1

(S.D.N.Y. Feb. 18, 2011) (quoting Chimarev v. TD Waterhouse Inv. Servs., Inc., 280 F. Supp.

2d 208, 212 (S.D.N.Y. 2003)). A decision is “clearly erroneous” when, “upon review of the

entire record, [the court is] left with the definite and firm conviction that a mistake has been

committed.” United States v. Snow, 462 F.3d 55, 72 (2d Cir. 2006) (quotation marks and

citation omitted).

        B.      Rule 12(b)(6) Motion to Dismiss

                “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

Under this standard, a plaintiff is required only to set forth a “short and plain statement of the

claim,” Fed. R. Civ. P. 8(a)(2), with sufficient factual “heft ‘to sho[w] that the pleader is entitled

to relief.’” Twombly, 550 U.S. at 557 (quoting Fed. R. Civ. P. 8(a)(2)).




                                                   4
   Case 1:21-cv-06889-PGG-OTW                Document 64         Filed 12/13/24       Page 5 of 13




                To survive a motion to dismiss, a plaintiff’s “[f]actual allegations must be enough

to raise a right to relief above the speculative level,” (id. at 555), and a plaintiff’s claims must be

“plausible on [their] face.” Id. at 570. “The plausibility standard is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted unlawfully.”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 556).

                “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s

liability, it ‘stops short of the line between possibility and plausibility of entitlement to relief.’”

Id. (quotation marks omitted) (quoting Twombly, 550 U.S. at 557). Moreover, where “the

allegations in a complaint, however true, could not raise a claim of entitlement to relief,”

Twombly, 550 U.S. at 558, or where a plaintiff has “not nudged [his] claims across the line from

conceivable to plausible, the[] complaint must be dismissed.” Id. at 570. “Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 557). A complaint must provide factual allegations

sufficient “to give the defendant fair notice of what the claim is and the grounds upon which it

rests.” Port Dock & Stone Corp. v. Oldcastle Northeast, Inc., 507 F.3d 117, 121 (2d Cir. 2007)

(citing Twombly, 550 U.S. at 555). “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice [to establish entitlement to relief].”

Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

        C.      FLSA Overtime Claim

                “‘[I]n order to state a plausible FLSA overtime claim, a plaintiff must sufficiently

allege 40 hours of work in a given workweek as well as some uncompensated time in excess of

the 40 hours.’” Baldia v. RN Express Staffing Registry LLC, 633 F. Supp. 3d 693, 712

(S.D.N.Y. 2022) (quoting Lundy v. Cath. Health Sys. of Long Island Inc., 711 F.3d 106, 114 (2d

Cir. 2013)) (alteration in Baldia). “‘The burden placed on plaintiffs is not an onerous one. They


                                                    5
      Case 1:21-cv-06889-PGG-OTW           Document 64       Filed 12/13/24      Page 6 of 13




are not required to state every single instance of overtime work or to state the exact amount of

pay which they are owed; instead, they are only required to provide some approximation of the

overtime hours that they worked.’” Id. at 713 (quoting Bachayeva v. Americare Certified

Special Servs., Inc., No. 12-CV-1466 (RRM), 2013 WL 1171741, at *6 (E.D.N.Y. Mar. 20,

2013)) (further quotation omitted).

               A plaintiff cannot, however, satisfy this burden through “‘general assertions’ that

[he or she] ‘typically, occasionally, or regularly worked more than forty hours a week, without

more.’” Thompson v. Urban Recovery House, LLC, No. 20-CV-9581 (PGG) (JLC), 2022 WL

589957, at *4 (S.D.N.Y. Feb. 28, 2022) (quoting Limauro v. Consolidated Edison Co. of New

York, No. 20-CV-3558 (CM), 2021 WL 1226872, at *2 (S.D.N.Y. Mar. 31, 2021)), report and

recommendation adopted sub nom. Thompson v. Elev8 Ctr. N.Y., LLC, No. 20 CIV. 9581

(PGG), 2022 WL 4547411 (S.D.N.Y. Sept. 29, 2022). “Rather, to survive a Rule 12(b)(6)

motion, a plaintiff [asserting an FLSA overtime wage claim] must ‘provide sufficient detail

about the length and frequency of [his or her] unpaid work to support a reasonable inference that

[he or she] worked more than forty hours in a given week.’ A plaintiff has not provided

sufficient detail when ‘there is no way to identify from the allegations which weeks [Plaintiff]

was required to work more than forty hours.’” Id. (quoting Hobbs v. Knight-Swift Transp.

Holdings, Inc., No. 21 CIV. 1421 (AT), 2022 WL 118256, at *3 (S.D.N.Y. Jan. 12, 2022), and

Limauro, 2021 WL 1226872, at *2) (second, third, and fourth alterations in Thompson).

II.      ANALYSIS

         A.    FLSA Overtime Claim against the Buildings Department

               Judge Wang recommends that Plaintiff Ogleton’s FLSA claim against the

Buildings Department be dismissed because “the Buildings Department is not a suable entity.”




                                                 6
   Case 1:21-cv-06889-PGG-OTW              Document 64       Filed 12/13/24     Page 7 of 13




(R&R (Dkt. No. 63) at 4) Because no party has objected to Judge Wang’s recommendation, this

Court will review her analysis only for clear error.

               In her February 17, 2023 R&R recommending dismissal of the Complaint’s

claims against the Buildings Department, Judge Wang notes:

       The New York City Charter provides that “[all] actions and proceedings for the
       recovery of penalties for the violation of any law shall be brought in the name of
       the [C]ity of New York and not in that of any agency, except where otherwise
       provided by law.” N.Y.C. CHARTER § 396. Accordingly, [the Department of
       Buildings] is not a suable entity and Plaintiff’s claims against it should be
       dismissed. See Sultan v. New York City Dep’t of Bldgs., No. 99-CV-8615
       (LAK), 2000 WL 262923, at *2 (S.D.N.Y. Mar. 7, 2000) (dismissing claims
       against [the Department of Buildings] because of its status as a non-suable entity);
       Olabopo v. Gomes, No. 13-CV-5052 (RRM) (LB), 2016 WL 5477586, at *3
       (E.D.N.Y. Sept. 29, 2016) (same).

(R&R (Dkt. No. 56) at 3-4) (first and second brackets in original)

               Plaintiff did not object to Judge Wang’s recommendation in the February 7, 2023

R&R, and this Court dismissed the Buildings Department as a Defendant in its March 31, 2023

order. (Mar. 31, 2023 Order (Dkt. No. 59) at 13-16)

               With respect to the proposed Amended Complaint, Judge Wang again

recommends that Plaintiff’s claims against the Buildings Department be dismissed, because the

Buildings Department is not a suable entity. (R&R (Dkt. No. 63) at 4) Plaintiff once again has

not objected to Judge Wang’s recommendation.

               This Court finds no error in Judge Wang’s analysis. Accordingly, the motion to

amend will be denied to the extent the proposed Amended Complaint asserts an FLSA claim

against the Buildings Department.

       B.      FLSA Overtime Claim Against the City

               Judge Wang recommends that the motion to amend be granted as to Plaintiff’s

proposed FLSA claim against the City for unpaid overtime wages. She reasons as follows:



                                                 7
   Case 1:21-cv-06889-PGG-OTW               Document 64      Filed 12/13/24     Page 8 of 13




       Plaintiff’s proposed amended complaint (ECF 60-1) adequately alleges a time-
       shaving complaint under FLSA. In his order adopting my Report and
       Recommendation, Judge Gardephe agreed that Plaintiff’s Complaint (ECF 1)
       failed to allege that Plaintiff worked at least 40 hours a week, nor did it allege
       facts sufficient to “support a reasonable inference that [Ogleton] worked more
       than [40] hours in a given week.” (ECF 59 at 15). Rather, it “merely advance[d]
       bare bones claims that Defendants did not pay for some hours Ogleton worked.”
       Id. Plaintiff’s proposed amendment largely mirrors the original complaint but
       adds a new sentence alleging that Plaintiff worked one hour of overtime every day
       “per week, every week,” “from in or about February 2019 until in or about
       December 2020,” and “was not paid for five (5) hours of overtime work per week,
       every week, during this period.” (ECF 60-1 ¶ 13). While still barebones, Plaintiff
       has adequately pled a FLSA time-shaving claim, as he “sufficiently allege[s] 40
       hours of work in a given workweek as well as some uncompensated time in
       excess of the 40 hours.” Lundy, 711 F.3d at 114. He has provided, as directed,
       dates concerning his regular hours of work and when he worked overtime hours.
       (ECF 56 at 15). Accordingly, Plaintiff’s motion to amend should be GRANTED.

(R&R (Dkt. No. 63) at 4-5) (brackets in original)

               Because no party has objected to Judge Wang’s recommendation, this Court will

review her analysis only for clear error.

               This Court finds no error in Judge Wang’s analysis. The proposed Amended

Complaint alleges that “from in or about February 2019 until in or about December 2020,

Plaintiff OGLETON worked forty-five (45) hours per week, yet was paid for only forty (40)

hours per week,” and that “Plaintiff OGLETON was not paid for five (5) hours of overtime work

per week, every week, during this period.” (Prop. Am. Cmplt. (Dkt. No. 60-1) ¶ 13) These

allegations are adequate to plausibly allege “‘40 hours of work in a given workweek as well as

some uncompensated time in excess of the 40 hours.’” Baldia, 633 F. Supp. 3d at 713 (quoting

Lundy, 711 F.3d at 114). In other words, Plaintiff has provided “sufficient detail about the

length and frequency of [his] unpaid work to support a reasonable inference that [he] worked

more than forty hours in a given week.” Hobbs, 2022 WL 118256, at *3 (quoting Nakahata v.

N.Y.-Presbyterian Healthcare Sys., Inc. 723 F.3d 192, 201 (2d Cir. 2013)).




                                                8
   Case 1:21-cv-06889-PGG-OTW               Document 64        Filed 12/13/24      Page 9 of 13




               Accordingly, this Court will adopt Judge Wang’s recommendation and grant

Plaintiff leave to file an Amended Complaint asserting an FLSA claim for unpaid overtime

wages against the City.

       C.      Willful Failure to Pay Overtime Wages

               The proposed Amended Complaint also alleges that Defendants “knowingly and

willfully” violated the FLSA by failing to pay overtime wages. (Prop. Am. Cmplt. (Dkt. No. 60-

1) ¶ 14) Defendants contend that the proposed Amended Complaint “fails to allege any facts

supporting a claim of a willful FLSA violation,” and that Plaintiff’s claim is therefore subject to

the two-year statute of limitations applicable to ordinary FLSA violations, rather than the three-

year statute of limitations applicable to willful FLSA violations. (Def. Opp. (Dkt. No. 61) at 2)

               Judge Wang does not address Defendants’ argument that the proposed Amended

Complaint fails to adequately allege a willful FLSA violation. Accordingly, this issue will be

considered de novo.

               1.      Applicable Law

               Claims for unpaid overtime wages under the FLSA are generally subject to a two-

year statute of limitations. Whiteside v. Hover-Davis, Inc., 995 F.3d 315, 318 (2d Cir. 2021)

(citing 29 U.S.C. § 255(a)). “But claims for unpaid overtime compensation arising out of an

employer’s willful violation of the FLSA are subject to a three-year statute of limitations.” Id.

(emphasis in original).

               At the pleading stage, “the mere allegation of willfulness is insufficient to allow

an FLSA plaintiff to obtain the benefit of the three-year exception.” Id. at 323. Rather, “a

plaintiff must allege facts that permit a plausible inference that the defendant willfully violated

the FLSA for that exception to apply.” Id.; see also id. at 322 (explaining that “willfulness

operates as an independent element of claims for willful violation of the FLSA – a subset of


                                                  9
  Case 1:21-cv-06889-PGG-OTW               Document 64        Filed 12/13/24      Page 10 of 13




FLSA claims pursuant to which an employer is subject to heightened liability”; “[by] extending

the limitations period for an additional year based upon an employer’s intent, claims for willful

violation of the FLSA act as ‘a punitive measure’ for employers who are more culpable than

those who violate the statute only negligently” (emphasis in original) (quoting Brock v. Richland

Shoe Co., 799 F.2d 80, 84 (3d Cir. 1986)).

               An employer “‘willfully violates the FLSA when it either knew or showed

reckless disregard for the matter of whether its conduct was prohibited by the [FLSA].’” Id. at

324 (quoting Young v. Cooper Cameron Corp., 586 F.3d 201, 207 (2d Cir. 2009)). “‘Mere

negligence is insufficient.’” Id. (quoting Young, 586 F.3d at 207)). That is, “‘if an employer

acts unreasonably, but not recklessly, in determining its legal obligation, its action should not be

considered willful.’” Id. (quoting Reich v. Waldbaum, Inc., 52 F.3d 35, 39 (2d Cir. 1995)).

               As to accrual of rights “[u]nder the FLSA, ‘a new cause of action accrues with

each payday following an allegedly unlawful pay period.’” Pappas v. City of New York, No. 23-

CV-6010 (LJL), 2024 WL 2093472, at *6 (S.D.N.Y. May 9, 2024) (quoting Lee v. ABC Carpet

& Home, 236 F.R.D. 193, 199 (S.D.N.Y. 2006)); see also Doo Nam Yang v. ACBL Corp., 427

F. Supp. 2d 327, 337 (S.D.N.Y. 2005) (“A cause of action under the FLSA accrues on the regular

payday immediately following the work period for which services were rendered and not

properly compensated.”).

               2.      Analysis

               Because (1) Plaintiff claims that Defendants willfully failed to pay him overtime

wages for work performed between February 2019 and December 2020 (Prop. Am. Cmplt. (Dkt.

No. 60-1) ¶ 13); and (2) the Complaint was filed on August 16, 2021 (Dkt. No. 1), FLSA

overtime wage claims that accrued prior to August 16, 2019 – that is, between February 2019




                                                 10
  Case 1:21-cv-06889-PGG-OTW               Document 64          Filed 12/13/24    Page 11 of 13




and August 16, 2019 – are time-barred unless Plaintiff has plausibly alleged a willful violation of

the FLSA.

               As an initial matter, Plaintiff’s allegation that Defendants “knowingly and

willfully” violated the FLSA is not – standing alone – sufficient to plausibly allege willfulness.

See Whiteside, 995 F.3d at 321 (“An averment of ‘willfulness’ is . . . precisely the sort of legal

conclusion that Twombly and Iqbal counsel must be supported by factual allegations at the

pleadings stage.”); Romero v. Manhattan & Bronx Surface Transit Operating Auth., No. 21-CV-

4951 (LJL), 2022 WL 624451, at *5 (S.D.N.Y. Mar. 2, 2022) (finding plaintiff’s allegation that

“Defendants’ violations of the FLSA have been done in a willful and bad-faith manner” to be

conclusory and insufficient to plausibly allege willfulness).

               Plaintiff’s remaining factual allegations do not cure this defect. Although

Plaintiff asserts that Defendants maintained “a policy of timeshaving” – pursuant to which

“Defendants would not pay Plaintiff OGLETON and other Supervisors for all of the hours that

they worked” (Prop. Am. Cmplt. (Dkt. No. 60-1) ¶ 12) – Plaintiff alleges no further details

concerning this alleged policy. “‘[C]onclusory assertions’ that a defendant . . . had a policy or

practice of failing to meet [FLSA overtime obligations]” – without more – are “insufficient” to

plausibly allege willfulness. Fisher v. Hudson Hall LLC, No. 22 CIV. 9737 (DEH), 2024 WL

3088836, at *4 (S.D.N.Y. June 21, 2024) (first bracket in original) (quoting Sanchez v. L’Oreal

USA, Inc., No. 21-CV-3229, 2022 WL 1556402, at *5 (S.D.N.Y. May 17, 2022)).

               The proposed Amended Complaint also alleges that Defendants “forced [Plaintiff]

to misreport [his] hours.” (Prop. Am. Cmplt. (Dkt. No. 60-1) ¶ 14) But Plaintiff does not allege

facts explaining (1) how Defendants “forced” him to misreport his time; (2) who instructed him

to “misreport [his] hours”; (3) when he was told to misreport his time; or (4) how he went about




                                                 11
  Case 1:21-cv-06889-PGG-OTW               Document 64        Filed 12/13/24      Page 12 of 13




“misreport[ing]” his time. See Sanchez, 2022 WL 1556402, at *4-5 (allegation that “[d]efendant

forced [p]laintiff to work late hours during the holiday season” was inadequate to plead

willfulness). Nor does Plaintiff allege that he “complained about the situation to his managers”

prior to December 2020 – the end date for his FLSA overtime wage claim. See Whiteside, 995

F.3d at 324. Nor does Plaintiff allege that any supervisor “said anything to him suggesting an

awareness of impropriety.” Id.

               In sum, the proposed Amended Complaint does not contain the factual detail

necessary to plausibly allege willfulness. See Bojaj v. Moro Food Corp., No. 13 Civ. 9202, 2014

WL 6055771, at *1-3 (S.D.N.Y. Nov. 13, 2014) (willfulness inadequately pled where complaint

used “general statements” to allege “common policy” of underpaying employees); Romero, 2022

WL 624451, at *5 (willfulness not found where complaint contained “a conclusory allegation

that a defendant acted willfully, without factual support to back up that allegation”); cf.

Hernandez v. NHR Hum. Res., LLC, No. 20-CV-3109 (PGG) (DF), 2021 WL 2535534, at *16

(S.D.N.Y. June 18, 2021) (willfulness adequately alleged where complaint pled that defendant-

employer told plaintiff that he “would never be paid overtime”); Markovic v. Milos Hy, Inc., No.

22 Civ. 1412 (LJL), 2023 WL 4763807, at *7 (S.D.N.Y. July 26, 2023) (willfulness adequately

pled where plaintiffs alleged that (1) “they contemporaneously raised concerns that [d]efendants’

tip pool and distribution policies resulted in the underpayment of tips”; (2) they “were told that

the collected tips went missing from the restaurant’s safe that was accessible to only the

managers and owners”; (3) when they “requested to see [d]efendants’ tip records and sought

clarification on how [d]efendants calculated the tip amounts distributed to tipped workers,

[d]efendants refused to produce [p]laintiffs with such records or information”; and (4) “when




                                                 12
  Case 1:21-cv-06889-PGG-OTW               Document 64        Filed 12/13/24      Page 13 of 13




they complained about the discrepancies, management threatened to fire everyone and start over”

(quotation marks omitted)).

               Indeed, the proposed Amended Complaint does not allege that Defendants “acted

in any manner suggesting an awareness that their actions violated or could violate the FLSA.”

Whiteside, 995 F.3d at 324 (emphasis in original). At best, Ogleton’s allegations “permit . . . an

inference that Defendants [acted] negligently . . . which, without more, is insufficient.” Id.

Plaintiff has therefore failed to plausibly allege that Defendants willfully violated the FLSA.

               Because Plaintiff has failed to plausibly allege a willful violation of the FLSA,

Plaintiff’s claims are subject to the two-year statute of limitations for ordinary FLSA violations.

Accordingly, Plaintiff’s FLSA overtime wage claims are time-barred to the extent that they pre-

date August 16, 2019.

               Plaintiff will therefore be granted leave to file an Amended Complaint alleging

FLSA overtime wage claims only for the period between August 16, 2019 to December 2020.

                                         CONCLUSION

               The R&R is adopted in part as set forth above. Plaintiff is granted leave to file an

Amended Complaint asserting an FLSA overtime wage claim against the City, but only for

claims that accrued on or after August 16, 2019. The Amended Complaint will be filed by

December 20, 2024.

               The Clerk of Court is directed to terminate the motion (Dkt. No. 60).

Dated: New York, New York
       December 13, 2024
                                              SO ORDERED.



                                              ________________________________
                                              Paul G. Gardephe
                                              United States District Judge


                                                 13
